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                                                                                                                                                 CO 249
                                                                                                                                                 Rev. 2/2010

                  UNITED STATES DISTRICT AND BANKRUPTCY COURTS
                           FOR THE DISTRICT OF COLUMBIA




Electronic Privacy Information Center
____________________________________
      Plaintiff(s)

                                                                                                                                     16-cv-1402 (ABJ)
                                                                                                                   Civil Action No. _______________
       vs.


Department of Justice
____________________________________
      Defendant(s)


                                                              AFFIDAVIT OF MAILING

           T. John Tran
       I, _________________________________________, hereby state that:
              6th
       On the __________        July
                         day of ________________________, 2016 I caused to be deposited in the
                                                          _______,
United States Mail a copy of the summons and complaint in the above captioned case, postage prepaid,
return receipt requested, restricted delivery, addressed to the following defendant:



       U.S. Attorney for the District of Columbia, c/o Civil Process Clerk, Department of Justice, 555 4th St., NW, Washington, DC 20530




                                                                7015 1520 0000 5320 5183
       I have received the receipt for the certified mail, No. ______________________________
(attached hereto), indicating that delivery of the summons and complaint was made upon said defendant
       11th
on the __________        July
                  day of ________________________, 2016
                                                   _______.
       I declare under penalty of perjury that the foregoing is true and correct.




               7/11/16
       ________________________                                                                              /s/ T. John Tran
                                                                                                     _________________________________
                           (Date)                                                                                               (Signature)
